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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                   LUBBOCK DIVISION


 UNITED STATES OF AMERICA                         §
                                                  §
                                                  §
 V                                                §     CRIMINAL NO: 5:16-CR-016-C-BG
                                                  §
                                                  §
 JERAMIE CHARLES THEEL (01)                       §


               REPORT OF ACTION AND RECOMMENDATION ON PLEA
                BEFORE THE UNITED STATES MAGISTRATE JUDGE

        This Report of Action on Plea is submitted to the court pursuant to 28 U.S.C. § 636(b)(3).

 This case has been referred by the United States District Judge to the undersigned for the taking of

 a felony guilty plea. The parties have consented to appear before a United States Magistrate Judge

 for these purposes.

        The defendant appeared with counsel, Charles Chambers, before the undersigned United

 States Magistrate Judge who addressed the defendant personally in open court and informed the

 defendant of, and determined that the defendant understood, the admonitions under Rule 11 of the

 Federal Rules of Criminal Procedure.

        The defendant pled guilty (pursuant to a plea bargain agreement with the Government) to

 Count(s) 1 of the Indictment, charging defendant with the violation of 21 U.S.C. §§ 841(a)(1),

 841(b)(1)(C), and 18 U.S.C. § 2, that is, Possession with Intent to Distribute Methamphetamine and

 Aiding and Abetting.

        The undersigned Magistrate Judge finds the following:

        (1)     The defendant, with the advice of counsel, has consented orally and in writing to
                enter this guilty plea before a Magistrate Judge subject to final approval and
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               sentencing by the United States District Judge;

        (2)    The defendant fully understands the nature of the charge and penalties;

        (3)    The defendant fully understands the terms of the plea agreement;

        (4)    The defendant understands his constitutional and statutory rights and wishes to waive
               these rights, including the right to a trial by jury and the right to appear before a
               United States District Judge;

        (5)    The defendant's plea is made freely and voluntarily;

        (6)    The defendant is competent to enter this plea of guilty;

        (7)    There is a factual basis for this plea; and

        (8)    The ends of justice will be served by acceptance of the defendant's plea of guilty.

        Therefore I recommend that the defendant’s plea of guilty be accepted and that Jeramie

 Charles Theel be adjudged guilty and sentence be imposed accordingly. The United States District

 Judge has the power to review my actions in this proceeding and possesses final decision-making

 authority. Thus, if the defendant has any objections to the findings or any other action of the

 undersigned, the defendant should make those known to the United States District Judge on

 or before July 13, 2016, fourteen (14) days from today’s date.



        SIGNED this 29th day of June, 2016.

                                              ______________________________________
                                              NANCY M. KOENIG
                                              United States Magistrate Judge
